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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

IDAHO REPUBLICAN PARTY, et.al.,
Plaintiffs,
vs.

BEN YSURSA, In his Official Capacity as
Secretary of State of the State of Idaho,

Defendant.

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Case No. 1:08-CV-00165-BLW

AFFIDAVIT OF
ROD BECK

Rod Beck, being first duly sworn, deposes on oath and states:

1. lam nota party to this lawsuit. Each of the matters stated herein are known to

me of my personal knowledge and if sworn as a witness, | could testify

competently thereto.

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2. In 2004, | ran for the Idaho State Senate in the District 14 Republican Primary
against Hal Bunderson, and in 2006, | ran for the Idaho State Senate in the
District 14 Republican Primary against Stan Bastian.

3. In both my 2004 and 2006 State Senate Primaries, | came across evidence of
cross over voting when | was campaigning. On one occasion | was directly
contacting voters by approaching them at their home. Usually, when | have
directly contacted people at their front doors they are quite pleasant and non-
confrontational. They typically thank you for the visit and ask you to leave any
material with them and that is the end of it. On several occasions | came across
people who were just the opposite. In those instances the conversation went
something like this; “Yes | Know who you are and | am voting for your opponent
and against you in the Republican primary.” Upon further probing, | discovered
that those people were members of the teachers union (IEA) or were to one
degree or another involved with education. Most stated empirically that they

were indeed proud Democrats, and that they would be voting in the Republican

primary to make sure that the Republican candidate more closely associated with
their viewpoint would win. This same scenario occurred numerous times during
the course of my campaigns.

4. During my campaigns, | presented myself as a solid Republican, with viewpoints
representative of the Party Platform. Both of my opponents deviated from the
platform substantially. Stan Bastian’s positions was more closely associated
with the Democrat teachers union (IEA) and government in general than that of

the Republican party platform position, particularly on issues relating to education

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and general government. Hal Bunderson took contrary positions to the platform
on both spending and taxes and the size and scope of government.

5. | knew in facing both of these candidates that | was going to have to try to
counteract the cross over voting affect, and as a result had to raise more money
and spend greater amounts than | otherwise would have in a closed primary
environment. The reason for this was that | was unwilling to modify my policy
positions on the issues to appease Democrats therefore in order to collect
enough votes to win, | had to expose my opponents contrary Republican
positions. | knew | had to motivate more Republicans to vote for the candidate
that held Republican positions on the issues and against my opponents whose
positions were closer to the Democrat positions on the issues

6. As a result of Democrat cross over voting, the candidates ultimately chosen in
the primary election did not as represent sufficiently the Republican Party
viewpoint or party platform.

7. In both races, the policies and platform of the Idaho Republican Party failed to be
adequately addressed or respected by these respective legislators upon their
arrival in the legislature, resulting in both failed legislation and the weakening of
the Republican Party positions on the issues before the Legislature. For
example Stan Bastian voted in the Idaho State Senate more in line with the IEA
position on the issues than that of the Idaho Republican Party. Hal Bunderson
usually supported positions more closely aligned with Idaho Cities and Counties
and most any other layer of Government than with the limited government

approach articulated in the Idaho Republican platform.

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FURTHER, AFFIANT SAYETH NOT. jiu 7

/ Rod Beck
State of Idaho )
) ss.
County of Ada )

Subscribed and sworn to before me, a Notary Public in and for the State of Idaho

onthis_/3 day of January, 2010.
LDL

Notary Public 7
My commission expires:
Residing At:

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CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this /3 day of January, 2010, | served a copy of the

foregoing Affidavit of Rod Beck by placing the same in the U.S. Mail, postage prepaid,
addressed to the following persons:

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Givens Pursley

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